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                                                NORTHERN DISTRICT OF CALIFORNIA
                   19
                                                        SAN FRANCISCO DIVISION
                   20
                        RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC-TSH
                   21
                           Individual and Representative Plaintiffs,    DEFENDANT META PLATFORMS, INC.’S
                   22                                                   FURTHER RESPONSE TO COURT’S
                               v.                                       DISCOVERY ORDER OF DECEMBER 5, 2024
                   23                                                   [DKT. 312]
                        META PLATFORMS, INC., a Delaware
                   24   corporation;
                   25                                   Defendant.
                   26

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                                                                              COURT’S ORDER OF DEC. 5, 2024 [DKT. 312]
                                                                                              3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC          Document 332           Filed 12/11/24    Page 2 of 2



                    1          Pursuant to the Magistrate Judge’s Order on December 5, 2024 (Dkt. 312), Defendant Meta

                    2   Platforms, Inc. (“Meta”) hereby submits as the attached Exhibit 1 an unredacted copy of Exhibit I

                    3   (Dkt. 276-8) to Meta’s Opposition to Plaintiffs’ Administrative Motion to File Excess Pages and to

                    4   Establish a Privilege Briefing Schedule (Dkt. 275).

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                        Dated: December 11, 2024                          COOLEY LLP
                    7

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                                                                                                       3:23-CV-03417-VC-TSH
